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                           Exhibit 7
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From:                Cormier, Kara <KMCormier@mintz.com>
Sent:                Friday, September 1, 2023 11:54 AM
To:                  Kirsch, Kevin W.
Cc:                  Skale, Andrew; Donley, Billy; Brandyberry, Jared; Samuels, Andrew
Subject:             RE: Unauthorized and Unlicensed Use of CygNet Software


The following is sent on behalf of Andrew Skale:

Kevin,

We again reject your contentions of wrongdoing. Moreover, as we previously committed, no employee or
representative of Iron‐IQ will run any version of Weatherford’s CygNet software for any purpose. In addition, as we
stated, Iron‐IQ does not have any copies of Weatherford’s CygNet software in its possession, custody, or control.

Your personal attacks against Mr. Ligrani are unfounded and at this point are approaching harassment. As Weatherford
knows Mr. Ligrani and his company SCADA Integration Partners, LLC, were authorized integrators for Cygnet. SCADA
spent tens of thousands of dollars with your client on training, training your client provided specifically to Mr. Ligrani
and SCADA to offer integration services for companies such as Utah Gas. To allege misconduct on these facts is frivolous.

As Weatherford also knows, Mr. Ligrani did not work for Utah Gas. Utah Gas was a client of SCADA’s many years ago and
it provided Mr. Ligrani that email address so that he could assist with Utah Gas’s integration of Cygnet software. None of
the install files used during that time have carried over, nor does Mr. Ligrani have any such files.

We have patiently provided information you have requested on an unnecessarily expedited basis. No misconduct on
our client’s part has occurred, nor have you alleged any such misconduct. Accordingly, we will graciously consider this
matter closed. However, if you maintain this improper course of action, consider this email as a counter cease and
desist notice – both as to your harassment of Mr. Ligrani and as to any interference that Weatherford has or plans to
conduct with Iron‐IQ’s existing or prospective customers.

Nevertheless, we remain hopeful that our email exchanges have resulted in an amicable resolution of this
issue. However, Iron IQ reserves all rights and waives none.

Kara Cormier
Associate

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